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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

               Plaintiff/Respondent,
                                                             CASE NO. 05-72434
v.                                                           HON. LAWRENCE P. ZATKOFF

D-1 DONALD SISTRUNK,

            Defendant/Petitioner.
__________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

       This matter is currently before the Court on Magistrate Judge Pepe’s Report and

Recommendation in which the Magistrate Judge recommends (1) that Petitioner’s Motion to Set

Aside his Guilty Plea be DENIED and (2) that a Certificate of Appealability should not be issued.

On June 13, 2006, Petitioner filed an objection to the Magistrate’s Report and Recommendation.

       After a thorough review of the court file, Petitioner’s Motion and the Government’s

Response, the Magistrate’s Report and Recommendation, and Petitioner’s Objections, this Court

ADOPTS the Report and Recommendation and enters it as the findings and conclusions of this

Court. Accordingly, the Court HEREBY DENIES Petitioner’s Motion to Set Aside his Guilty Plea.

Additionally, the Court finds that a Certificate of Appealability should not be issued.

       IT IS SO ORDERED.


                                              s/Lawrence P. Zatkoff
                                              LAWRENCE P. ZATKOFF
                                              UNITED STATES DISTRICT JUDGE

Dated: June 22, 2006
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of record
by electronic or U.S. mail on June 22, 2006.


                                             s/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290
